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                        T]NITED STATES DISTRICT COURT                        Jilt Z0 pH l: I I
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                        SOUTHERN DISTRICT OF GEORGIA
                              AUGUSTADIVISION
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IN RE:                                    )   CaseNos.: CRI 12-176,U.S.v. M' C. Carter
LEAVEOFABSENCE      REQUEST  FOR          )                       U.S.v. B. L. Lewis
                                                        CRI 14-105,
LAMONTA. BELK                             )                       U.S.v. D. S. Winn
                                                        CRI 14-124,
Februaryl0 - 13,February20 and23;         )
March 6 and 9, andMarch 20and 23          )


                                       ORDER

      Upon considerationof the Motion for Leaveof Absencefiled by the United Statesof

America in the above-citedcaseson behalfof AssistantUnited StatesAttorneyLamontA. Belk

for the followingdates:February10 -13,2015,February
                                                  20 and23,2015;March6 and9, 2015;

and March 20 and 23,2015, for the purposesof attendinga seminarat the National Advocacy

Center (February l0   - 13. 2015), and lravel outside of the district; the same is hereby

GRANTED.




                                  UNITEDSTATES         TRICTCOURTJUDGE
